Plaintiff’s
Exhibit A
                 Days from Complaint to Scheduled Trial in Recent Department of Justice Merger Challenges
                                                            Revised Feb. 21, 20251
                                                                                                                                  Days from
                                                                                 Scheduled Trial         Judgment or
                           Case2                          Complaint Filed                                                        Complaint to
                                                                                      Date              Dismissal Date
                                                                                                                                Scheduled Trial
    U.S. v. Visa Inc. and Plaid Inc. (N.D. Cal.)             11/5/2020              6/28/2021              1/12/2021                 235
    U.S. v. Aon plc and Willis Towers Watson plc
                                                             6/16/2021              11/18/2021             7/26/2021                   155
    (D.D.C.)
    U.S. v. Bertelsmann SE & Co. KGaA, et al.
                                                             11/2/2021               8/1/2022              10/31/2022                  272
    (D.D.C.)
    U.S. v. U.S. Sugar Corp., et al. (D. Del.)               11/23/2021             4/18/2022              9/23/2022                   146

    U.S., et al. v. UnitedHealth Group, et al. (D.D.C.)      2/24/2022               8/1/2022              9/19/2022                   158
    U.S. v. Grupo Verzatec S.A. de C.V., et al. (N.D.
                                                             3/17/2022              10/4/2022              5/26/2022                   201
    Ill.)
    U.S. v. ASSA ABLOY AB, et al. (D.D.C.)                   9/15/2022              4/24/2023              9/13/2023                   221
    U.S., et al. v. JetBlue and Spirit (D. Mass.)             3/7/2023              10/31/2023             1/16/2024                   238
    U.S. v. Global Business Travel Group, and CWT
                                                             1/10/2025               9/8/2025                 N/A                      241
    Holdings LLC (S.D.N.Y)
    U.S., et. al. v. UnitedHealth Group, et al. (D.
                                                             11/12/2024             10/27/2025                N/A                      349
    Md.)
                                                                                      Average Days from Complaint to Scheduled Trial: 221.6

1
  This chart was revised to include U.S., et al. v. UnitedHealth Group, et al., No. 24-cv-3267, after the Feb. 21, 2025 scheduling order was entered.
2
  This chart is limited to cases where the court entered a schedule for a trial on the merits. It does not include preliminary injunction proceedings,
as they are inherently different from actions involving a trial on the merits because “[t]he FTC ‘is not required to prove, nor is the court required to
find, that the proposed merger would in fact violate Section 7 of the Clayton Act.’” F.T.C. v. Arch Coal, Inc., 329 F. Supp. 2d 109, 115-16 (D.D.C.
2004) (quoting FTC v. Staples, Inc., 970 F. Supp. 1066, 1070 (D.D.C. 1997)). Thus, this chart does not include U.S. v. Booz Allen Hamilton Inc., et
al., No. 22-cv-1603 (D. Md.) and U.S. v. Geisinger Health et al., No. 20-cv-1383 (M.D. Pa.), because no merits trial was scheduled.
